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 8                                        UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9

10      TRAVELERS PROPERTY CASUALTY                                                        No.
        COMPANY OF AMERICA, a foreign
11      insurance company; THE PHOENIX                                                     COMPLAINT FOR
        INSURANCE COMPANY, a foreign                                                       DECLARATORY RELIEF
        insurance company,
12                                                                                         (28 U.S.C. § 2201)
                                                Plaintiffs,
13
                                   v.
14
        NORTHWEST PIPE COMPANY, a
15      Washington corporation; and GREATER
        VANCOUVER WATER DISTRICT, a
16      British Columbian statutory corporation,

17                                              Defendants.

18
                 Plaintiffs Travelers Property Casualty Company of America (hereinafter “TPCC”) and
19
     The Phoenix Insurance Company (hereinafter “Phoenix”) (collectively “Travelers”) submit the
20
     following Complaint for Declaratory Relief pursuant to 28 U.S.C. § 2201 and Fed.R.Civ.P. 57.
21
                                                                          I.           PARTIES
22
                   1.1         Plaintiff TPCC is a foreign insurance company licensed to conduct business in the
23
     State of Washington. TPCC is organized under the laws of the State of Connecticut with its
24
      TRAVELERS’ COMPLAINT                                                                           LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 1                                                                 1848 WESTLAKE AVENUE N, SUITE 100
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 1   principal place of business in the State of Connecticut. TPCC is licensed to transact business in

 2   Washington and at all material times has transacted business in Washington.

 3                 1.2         Plaintiff Phoenix is a foreign insurance company licensed to conduct business in

 4   the State of Washington. Phoenix is organized under the laws of the State of Connecticut with

 5   its principal place of business in the State of Connecticut. Phoenix is licensed to transact

 6   business in Washington and at all material times has transacted business in Washington.

 7               1.3           Defendant Northwest Pipe Company (hereinafter “Northwest Pipe”) is a

 8   Washington corporation with its principal place of business in the State of Washington.

 9               1.4           Defendant Greater Vancouver Water District (hereinafter the “District”) is a

10   statutory corporation organized under the laws of British Columbia.

11                                                   II.          JURISDICTION AND VENUE

12               2.1           Jurisdiction is properly before this Court pursuant to 28 U.S.C. §1332, et. seq., as

13   complete diversity exists among the parties and the amount in controversy exceeds $75,000.

14               2.2           The Court has jurisdiction over this declaratory judgment action pursuant to

15   28 U.S.C. § 2201 because there is an actual and justiciable controversy between the parties with

16   respect to the existence of insurance coverage under the policies of insurance issued by Travelers.

17   A judicial determination and declaration of the rights and obligations of the parties is necessary

18   and appropriate at this time because Travelers has no adequate remedy at law which will resolve

19   the current controversy.

20               2.3           Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as this action involves

21   a dispute over the application of insurance coverage under policies written out of Washington,

22   events and omissions which gave rise to this claim occurred in this district, and because

23

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 2                                                           1848 WESTLAKE AVENUE N, SUITE 100
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 1   Northwest Pipe is subject to this Court’s personal jurisdiction.

 2                                                     III.          FACTUAL BACKGROUND

 3               3.1           This lawsuit is an insurance coverage dispute arising out of the allegations set forth in the

 4   underlying action entitled Greater Vancouver Water District v. Northwest Pipe Company, et al.,

 5   in the Supreme Court of British Columbia, Vancouver Registry No. S156457 (the “Underlying

 6   Lawsuit”).

 7               3.2           The subject claim arises from alleged construction defects at a water treatment

 8   project in North Vancouver, British Columbia.

 9               3.3           As alleged in the Underlying Lawsuit, the Greater Vancouver Water District (the

10   “District”) began the Seymour-Capilano Filtration Project (the “Project”) to improve the

11   availability and quality of drinking water. The Project allegedly involved constructing two

12   underground tunnels to convey raw and treated water between two pumping stations in British

13   Columbia. As part of this construction, steel liner was to be installed and grout would be used to

14   fill space surrounding the steel liner. The grout was to be injected through “grout ports” in the

15   steel liner, and the ports were to be sealed with “grout plugs” to prevent water leakage.

16               3.4           On August 7, 2015, the District filed the Underlying Lawsuit against Northwest

17   Pipe, among others, based on alleged defects with the steel liner and grout plugs.

18               3.5           The District alleges that it had entered into a supply contract with Northwest Pipe

19   on September 20, 2006, for the manufacture and supply of the steel liner and grout plugs for the

20   Project (the “Supply Contract”). The District alleges that, per the Supply Contract, Northwest

21   Pipe was to ensure that the steel liner and grout plugs conformed to the applicable design, were

22   free from defects, and were fit for their intended purpose, among other warranties.

23               3.6           The District further alleges that installation of the piping allegedly began on or

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 3                                                           1848 WESTLAKE AVENUE N, SUITE 100
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 1   about August 12, 2013, in British Columbia. The District alleges that during the original

 2   installation of the grout plugs, there were multiple failures of the circumferential welds used to

 3   seal the grout plugs to the steel liner. The District further alleges that the method for sealing the

 4   grout ports had to be redesigned on or about November 14, 2013. The District alleges that this

 5   resulted in a delay in the construction of the Project and thereby caused the District to incur

 6   damages.

 7               3.7           In the underlying Complaint, the District alleges breach of contract and

 8   negligence claims against Northwest Pipe. The breach of contract claim is alleged to arise from

 9   Northwest Pipe’s alleged failure to manufacture grout plugs and steel liner which conformed to

10   design specifications, was free from defects, and was fit for their intended purpose as required

11   by the Supply Contract. The negligence claim arises from Northwest Pipe’s alleged failure to

12   exercise the reasonable care of a competent metals fabricator in manufacturing the steel liner and

13   grout plugs in conformity with the standards set forth in the Supply Contract.

14               3.8           In the underlying Complaint, the District does not allege a specific amount of

15   damages. Instead, the District alleges that the underlying defendants’ negligence and breaches of

16   contract resulted in delays in constructing the Project, and resulted in additional costs to

17   investigate the cause of the grout plug failures, redesign the method for sealing the grout plugs,

18   and to install, remove and replace the failed grout plugs.

19               3.9           Travelers is currently defending Northwest Pipe in the Underlying Lawsuit under

20   an express reservation of rights.

21

22

23

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 4                                                           1848 WESTLAKE AVENUE N, SUITE 100
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 1                                                     IV.          POLICIES OF INSURANCE

 2   A.          Identification of the Subject Insurance Policies

 3               4.1           Travelers issued commercial general liability insurance policies to Northwest Pipe

 4   under policy number Y-660-226D0451 for successive one-year policy periods from November

 5   1, 2006 through November 1, 2016 (hereinafter the “Policies”). Specifically, Phoenix was the

 6   insurer that issued the policies that were in effect during the policy periods of November 1, 2007

 7   through November 1, 2008, and November 1, 2015 through November 1, 2016. TPCC issued all

 8   of the other Policies to Northwest Pipe.

 9               4.2           Each of the Policies has a $1,000,000 each occurrence limit and a $2,000,000

10   aggregate limit, and include the terms, conditions and exclusions set forth below.

11   B.          Provisions of the Subject Policies

12               4.3           The commercial general liability portion of the Policies contains the following

13   insuring agreement:

14                             SECTION I -COVERAGES
                               COVERAGE A BODILY INJURY AND PROPERTY
15                             DAMAGE LIABILITY

16                             1.           Insuring Agreement

17                                          a.            We will pay those sums that the insured becomes
                                                          legally obligated to pay as damages because of
18                                                        “bodily injury” or “property damage” to which this
                                                          insurance applies. We will have the right and duty to
19                                                        defend the insured against any “suit” seeking those
                                                          damages. However, we will have no duty to defend
20                                                        the insured against any “suit seeking damages for
                                                          “bodily injury” or “property damage” to which this
21                                                        insurance does not apply. We may, at our discretion,
                                                          investigate any “occurrence” and settle any claim or
22                                                        “suit” that may result. But:

23                                                        (1)          The amount we will pay for damages is
                                                                       limited as described in Section III Limits Of
24
      TRAVELERS’ COMPLAINT                                                                        LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 5                                                              1848 WESTLAKE AVENUE N, SUITE 100
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 1                                                                    Insurance; and
                                                         (2)          Our right and duty to defend ends when we
 2                                                                    have used up the applicable limit of
                                                                      insurance in the payment of judgments or
 3                                                                    settlements under Coverages A or B or
                                                                      medical expenses under Coverage C.
 4
                                                         No other obligation or liability to pay sum or
 5                                                       perform acts or services is covered unless explicitly
                                                         provided for under Supplementary Payments
 6                                                       Coverages A and B.

 7                                         b.            This insurance applies to “bodily injury” and
                                                         “property damage” only if:
 8
                                                         (1)          The “bodily injury” or “property damage” is
 9                                                                    caused by an “occurrence” that takes place in
                                                                      the “coverage territory”;
10
                                                         (2)          The “bodily injury” or “property damage”
11                                                                    occurs during the policy period;

12                                                       (3)          Prior to the policy period, no insured listed
                                                                      under Paragraph 1. of Section II – Who Is
13                                                                    An Insured and no “employee” authorized
                                                                      by you to give or receive notice of an
14                                                                    “occurrence” or claim, knew that the “bodily
                                                                      injury” or “property damage” had occurred,
15                                                                    in whole or in part. If such a listed insured or
                                                                      authorized “employee” knew, prior to the
16                                                                    policy period, that the “bodily injury” or
                                                                      “property damage” occurred, then any
17                                                                    continuation, change or resumption of such
                                                                      “bodily injury” or “property damage” during
18                                                                    or after the policy period will be deemed to
                                                                      have been known prior to the policy period.
19                                         ...
                                           d.            “Bodily injury” or “property damage” will be
20
                                                         deemed to have been known to have occurred at the
                                                         earliest time when any insured listed under
21
                                                         Paragraph 1. of Section II – Who Is An Insured or
                                                         any “employee” authorized by you to give or receive
22
                                                         notice of an “occurrence” or claim:
23
                                                         (1)          Reports all, or any part, of the “bodily
                                                                      injury” or “property damage” to us or any
24
     TRAVELERS’ COMPLAINT                                                                         LETHER & ASSOCIATES PLLC
25   FOR DECLARATORY RELIEF – 6                                                               1848 WESTLAKE AVENUE N, SUITE 100
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 1                                                                     other insurer;

 2                                                        (2)          Receives a written or verbal demand or claim
                                                                       for damages because of the “bodily injury”
 3                                                                     or “property damage”; or

 4                                                        (3)          Becomes aware by any other means that
                                                                       “bodily injury” or “property damage” has
 5                                                                     occurred or has begun to occur.
                                          ...
 6
     CG 00 01 10 01, p. 1.
 7
                 4.4           The Policies contain the following definitions that are applicable to the foregoing
 8
     Insuring Agreement.
 9
                               SECTION V – DEFINITIONS
10                             ...
                               13.  “Occurrence” means an accident, including continuous or
11                                  repeated exposure to substantially the same general harmful
                                    conditions.
12                             ...
                               17.          “Property damage” means:
13
                                                   a.    Physical injury to tangible property,
                                                         including all resulting loss of use of that
14
                                                         property. All such loss of use shall be
                                                         deemed to occur at the time of the physical
15
                                                         injury that caused it; or
                                                   b.    Loss of use of tangible property that is not
16
                                                         physically injured. All such loss of use shall
                                                         be deemed to occur at the time of the
17
                                                         “occurrence” that caused it.
                               ...
18
                               18.          “Suit” means a civil proceeding in which damages because
19                                          of "bodily injury", "property damage" or "personal and
                                            advertising injury" to which this insurance applies are
20                                          alleged. "Suit" includes:
                                                    a.      An arbitration proceeding in which such
21                                                          damages are claimed and to which the
                                                            insured must submit or does submit with our
22                                                          consent; or
                                                    b.      Any other alternative dispute resolution
23                                                          proceeding in which such damages are

24
      TRAVELERS’ COMPLAINT                                                                       LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 7                                                             1848 WESTLAKE AVENUE N, SUITE 100
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 1                                                                        claimed and to which the insured submits
                                                                          with our consent.
 2
     CG 00 01 10 01, pp.14-15, as modified by CG D2 56 11 03.
 3
                    4.5           The commercial general liability portion of the Policies contain the following
 4
     exclusions and applicable definitions:
 5
                                  a. Expected Or Intended Injury
 6
                                  “Bodily injury” or “property damages” expected or intended from
 7                                the standpoint of the insured. This exclusion does not apply to
                                  “bodily injury” resulting from the use of reasonable force to protect
 8                                persons or property.

 9   CG 00 01 10 01, p. 2.1

10                                b.           Contractual Liability
                                               "Bodily injury" or "property damage" for which the insured
11                                             is obligated to pay damages by reason of the assumption
                                               of liability in a contract or agreement. This exclusion does
12                                             not apply to liability for damages:
                                               (1)           That the insured would have in the absence of the
13
                                                             contract or agreement; or
14                                             (2)           Assumed in a contract or agreement that is an
                                                             "insured contract", provided the "bodily injury" or
15                                                           "property damage" occurs subsequent to the
                                                             execution of the contract or agreement. Solely for
16                                                           the purposes of liability assumed by you in an
                                                             "insured contract", reasonable attorney fees and
17                                                           necessary litigation expenses incurred by or for a
                                                             party other than an insured will be deemed to be
18                                                           damages because of "bodily injury" or "property
                                                             damage", provided that:
19                                                           (a)          Liability to such party for, or for the cost
                                                                          of, that party's defense has also been
20                                                                        assumed in the same “insured contract"; and
                                                             (b)          Such attorney fees and litigation expenses
21
                                                                          are for defense of that party against a civil
22
     1
       The 2014/15 and 2015/16 Policies contain endorsement form CG D4 58 07 13 which modifies the second
23   sentence of the Expected Or Intended Exclusion as follow: “This exclusion does not apply to ‘bodily
     injury’ or ‘property damage’ resulting from the use of reasonable force to protect persons or property.”
24
         TRAVELERS’ COMPLAINT                                                                        LETHER & ASSOCIATES PLLC
25       FOR DECLARATORY RELIEF – 8                                                              1848 WESTLAKE AVENUE N, SUITE 100
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 1                                                                        or alternative dispute resolution proceeding
                                                                          in which damages to which this insurance
 2                                                                        applies are alleged.

 3   CG 00 01 10 01, p. 2.2

 4                                SECTION V – DEFINITIONS
                                  ...
 5                                9.   "Insured contract" means:
                                       ...
 6                                     f.     That part of any other contract or agreement
                                              pertaining to your business (including an
 7                                            indemnification of a municipality in connection with
                                              work performed for a municipality) under which you
 8                                            assume the tort liability of another party to pay for
                                              “property damage” to a third person or organization.
 9                                            Tort liability means a liability that would be imposed
                                              by law in the absence of any contract or
10                                            agreement….

11   CG 00 01 10 01, p. 13.

12                         m. Damage To Impaired Property Or Property Not Physically
                              Injured
13
                                  “Property damage” to “impaired property” or property that has not
14                                been physically injured, arising out of:
                                         (1)    A defect, deficiency, inadequacy or dangerous
15                                              condition in “your product” or “your work”; or
                                         (2)    A delay or failure by you or anyone acting on your
16                                              behalf to perform a contract or agreement in
                                                accordance with its terms.
17
                                  This exclusion does not apply to the loss of use of other property
18                                arising out of sudden and accidental physical injury to “your
                                  product” or “your work” after it has been put to its intended use.
19
     CG 00 01 12 04 p. 5.
20
                                  SECTION V – DEFINITIONS
21                                ...

22
     2
       The Contractual Liability Exclusion is modified by endorsement form CG D4 21 07 08 in the Policies
23   in effect between November 1, 2012 and November 1, 2016. This endorsement does not modify the
     material terms of the Contractual Liability Exclusion with respect to this matter.
24
         TRAVELERS’ COMPLAINT                                                                       LETHER & ASSOCIATES PLLC
25       FOR DECLARATORY RELIEF – 9                                                             1848 WESTLAKE AVENUE N, SUITE 100
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 1                            8. “Impaired property” means tangible property, other than “your
                                 product” or “your work”, that cannot be used or is less useful
 2                               because:
                                    a.      It incorporates “your product” or “your work” that is
 3                                          known or thought to be defective, deficient,
                                            inadequate or dangerous; or
 4                                  b.      You have failed to fulfill the terms of a contract or
                                            agreement;
 5
                                    if such property can be restored to use by:
 6
                                           a.            The repair, replacement, adjustment or removal of
 7                                                       “your product” or “your work”; or
                                           b.             Your fulfilling the terms of the contract or
 8                                                        agreement.
                              ...
 9
                              21. “Your Product”:
10                                   a.     Means:
                                            (1)    Any goods or products, other than real
11                                                 property, manufactured, sold, handled,
                                                   distributed or disposed of by:
12                                                 (a)     You;
                                                   (b)     Others trading under your name; or
13                                                 (c)     A person or organization whose
                                                           business or assets you have acquired;
14                                                         and

15                                         b.            Includes:
                                                         (1) Warranties or representations made at any time
16                                                           with respect to the fitness, quality, durability,
                                                             performance or use of “your product”; and
17                                                       (2) The providing of or failure to provide warnings
                                                             or instructions.
18                                         ...
                              22.          "Your work":
19
                                           a.    Means:
                                                 (1)    Work or operations performed by you or on your
20
                                                        behalf; and
                                                 (2)    Materials, parts or equipment furnished in
21
                                                        connection with such work or operations.
                                           b.    Includes:
22
                                                 (1)    Warranties or representations made at any time
                                                        with respect to the fitness, quality, durability,
23
                                                        performance or use of "your work", and
24
     TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25   FOR DECLARATORY RELIEF – 10                                                          1848 WESTLAKE AVENUE N, SUITE 100
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 1                                                        (2)          The providing of or failure to provide warnings or
                                                                       instructions.
 2
     CG 00 01 10 01, p. 13, 15.
 3
                               k. Damage To Your Product
 4
                               “Property damage” to “your product” arising out of it or any part of it.
 5
     CG 00 01 10 01, p. 5.
 6
                               l. Damage To Your Work
 7
                               “Property damage” to “your work” arising out of it or any part of it
 8                             and included in the “products-completed operations hazard”.

 9                             This exclusion does not apply if the damaged work or the work out
                               of which the damage arises was performed on your behalf by a sub-
10                             contractor.

11   CG 00 01 12 04, p. 5.

12                             j. Damage To Property
                               "Property damage" to:
13                                          ...
                                      (5)   That particular part of real property on which you
14
                                            or any contractors or subcontractors working
                                            directly or indirectly on your behalf are performing
15
                                            operations, if the “property damage” arises out of
                                            those operations; or
16

17                                          (6)           That particular part of any property that must be
                                                          restored, repaired or replaced because "your work"
18                                                        was incorrectly performed on it.
                                            …
19
                                            Paragraph (6) of this exclusion does not apply to “property
20                                          damage” included in the “products completed operations
                                            hazard”.
21
     CG 00 01 10 01, p. 4-5.
22
                               SECTION V – DEFINITIONS
23                             ...
                               16.  "Products-completed operations hazard":
24
      TRAVELERS’ COMPLAINT                                                                       LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 11                                                            1848 WESTLAKE AVENUE N, SUITE 100
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 1                                          a.            Includes all "bodily injury" and "property damage"
                                                          occurring away from premises you own or rent and arising
 2                                                        out of "your product" or "your work" except:
                                                          (1)     Products that are still in your physical possession;
 3                                                                or
                                                          (2)     Work that has not yet been completed or
 4                                                                abandoned. However, "your work" will be deemed
                                                                  completed at the earliest of the following times:
 5                                                                (a)     When all of the work called for in your
                                                                          contract has been completed.
 6                                                                (b)     When all of the work to be done at the job
                                                                          site has been completed if your contract
 7                                                                        calls for work at more than one job site.
                                                                  (c)     When that part of the work done at a job site
 8                                                                        has been put to its intended use by any
                                                                          person or organization other than another
 9                                                                        contractor or subcontractor working on the
                                                                          same project.
10                                                                Work that may need service, maintenance,
                                                                  correction, repair or replacement, but which is
11                                                                otherwise complete, will be treated as completed.

12   CG 00 01 10 01, p. 14.

13                      n. Recall of Products, Work or Impaired Property

14                             Damages claimed for any loss, cost or expense incurred by you or
                               others for the loss of use, withdrawal, recall, inspection, repair,
15                             replacement, adjustment, removal or disposal of:

16                                          (1)           “Your product”;
                                            (2)           “Your work”; or
17                                          (3)           “Impaired property”’

18                             if such product, work, or property is withdrawn or recalled from the market or
                               from use by any person or organization because of a known or suspected defect,
19                             deficiency, inadequacy or dangerous condition in it.

20   CG 00 01 10 01, p. 5.

21               4.6           The Policies contain the following language regarding other insurance:

22                    4. Other Insurance

23

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 12                                                          1848 WESTLAKE AVENUE N, SUITE 100
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 1                   If other valid and collectible insurance is available to the insured for a loss
                     we cover under Coverages A or B of this Coverage Part, our obligations are
 2                   limited as follows:

 3                            a. Primary Insurance

 4                                 This insurance is primary except when Paragraph b. below applies.
                                   If this insurance is primary, our obligations are not affected unless
 5                                 any of the other insurance is also primary. Then, we will share with
                                   all the other insurance by the method described in Paragraph c.
 6                                 below.

 7                                 However, if you specifically agree in a written contract or written
                                   agreement that the insurance provided to an additional insured under
 8                                 this Coverage Part must apply on a primary basis, or a primary and
                                   non-contributory basis, this insurance is primary to other insurance
 9                                 that is available to such additional insured which covers such
                                   additional insured as a named insured, and we will not share with
10                                 that other insurance, provided that:

11                                                a. The “bodily injury” or “property damage” for which
                                                  coverage is sought occurs; and
12
                                                  b. The “personal injury” or “advertising injury” for which
13                                                coverage is sought arises out of an offense committed

14                                             subsequent to the signing and execution of that contract or
                                               agreement by you.
15
                              b. Excess Insurance
16
                                   This insurance is excess over:
17
                                           (1) Any of the other insurance, whether primary, excess,
18                                             contingent or on any other basis:

19                                                (a) That is Fire, Extended Coverage, Builder’s Risk,
                                                  Installation Risk or similar coverage for “your work”;
20
                                                  (b) That is Fire insurance for premises rented to you or
21                                                temporary occupied by you with permission of the owner;

22                                                (c) That is insurance purchased by you to cover your
                                                  liability as a tenant for “property damage” to premises
23                                                rented to you or temporarily occupied by you with
                                                  permission of the owner; or
24
     TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25   FOR DECLARATORY RELIEF – 13                                                          1848 WESTLAKE AVENUE N, SUITE 100
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 1
                                                   (d) If the loss arises out of the maintenance or use of
 2                                                 aircraft, “autos” or watercraft to the extent no subject to
                                                   Exclusion g. of Section I – Coverage A – Bodily Injury and
 3                                                 Property Damage Liability.

 4                                                 (e) That is available to the insured when the insured is added
                                                   as an additional insured under any other policy, including
 5                                                 any umbrella or excess policy.

 6                                  When this insurance is excess, we will have no duty under
                                    Coverages A or B to defend the insured against any “suit” if any
 7                                  other insurer has a duty to defend the insured against that “suit”. If
                                    no other insurer defends, we will undertake to do so, but we will be
 8                                  entitled to the insured’s rights against all those other insurers.

 9                                  When this insurance is excess over other insurance, we will pay only
                                    our share of the amount of the loss, if any, that exceeds the sum of:
10
                                            (1) The total amount that all such other insurance would pay for
11                                              the loss in the absence of this insurance; and

12                                          (2) The total of all deductible and self-insured amounts under
                                                all that other insurance.
13
                                    We will share the remaining loss, if any, with any other insurance
14                                  that is not described in this Excess Insurance provision and was not
                                    bought specifically to apply in excess of the Limits of Insurance
15                                  shown in the Declarations of this Coverage Part.

16                             c. Method of Sharing

17                                  If all of the other insurance permits contribution by equal shares, we
                                    will follow this method also. Under this approach each insurer
18                                  contributes equal amounts until it has paid its applicable limit of
                                    insurance or none of the loss remains, whichever comes first.
19
                                    If any of the other insurance does not permit contribution by equal
20                                  shares, we will contribute by limits. Under this method, each
                                    insurer’s share is based on the ratio of its applicable limit of
21                                  insurance to the total applicable limits of insurance of all insurers.

22   CG 00 01 040 13 at p. 12, as modified by CG D0 37 04 05.

23

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
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 1               4.7           The Policies contain the following language regarding the insured’s duties of

 2   cooperation:

 3                      2. Duties in the Event of Occurrence, Offense, Claim or Suit

 4                             a.           You must see to it that we are notified as soon as practicable
                                            of an "occurrence" or an offense which may result in a
 5                                          claim. To the extent possible, notice should include:

 6                                          (1)           How, when and where the "occurrence" or offense
                                                          took place;
 7                                          (2)           The names and addresses of any injured persons and
                                                          witnesses; and
 8                                          (3)           The nature and location of any injury or damage
                                                          arising out of the "occurrence" or offense.
 9
                               b.           If a claim is made or "suit" is brought against any insured,
10                                          you must:

11                                          (1)     Immediately record the specifics of the claim or
                                                    "suit' and the date received; and
12                                          (2)     Notify us as soon as practicable.
                                            You must see to it that we receive written notice of the claim
13                                          or "suit" as soon as practicable.

14                             c.           You and any other involved insured must:

15                                          (1)           Immediately send us copies of any demands,
                                                          notices, summonses or legal papers received in
16                                                        connection with the claim or "suit";
                                            (2)           Authorize us to obtain records and other
17                                                        information;
                                            (3)           Cooperate with us in the investigation or settlement
18                                                        of the claim or defense against the "suit"; and
                                            (4)           Assist us, upon our request, in the enforcement of
19                                                        any right against any person or organization which
                                                          may be liable to the insured because of injury or
20                                                        damage to which this insurance may also apply.

21                             d.           No insured will, except at that insured's own cost,
                                            voluntarily make a payment, assume any obligation, or incur
22                                          any expense, other than for first aid, without our consent.

23   CG 00 01 10 01, pp. 10-11.

24
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 1               4.8           The Policies also contain the following policy endorsement:

 2                             AMENDMENT- NON CUMULATION OF EACH
                               OCCURRENCE LIMIT OF LIABILITY and NON
 3                             CUMULATION OF PERSONAL and ADVERTISING
                               INJURY LIMIT
 4
                               This endorsement modifies insurance provided under the following:
 5

 6                             COMMERCIAL GENERAL LIABILITY COVERAGE PART

 7                             1.           Paragraph 5 of SECTION III - LIMITS OF INSURANCE,
                                            is amended to include the following:
 8
                                            Non cumulation of Each Occurrence Limit - If one
 9                                          "occurrence" causes "bodily injury" and/or "property
                                            damage" during the policy period and during the policy
10                                          period of one or more prior and/or future policies that
                                            include a commercial general liability coverage part for the
11                                          insured issued by us or any affiliated insurance-company,
                                            the amount we will pay is limited. This policy's Each
12                                          Occurrence Limit will be reduced by the amount of each
                                            payment made by us and any affiliated insurance company
13                                          under the other policies because of such "occurrence".
                                            ...
14
     CG D2 03 12 97.
15
                 4.9           In accordance with applicable law, Travelers now brings this claim for
16
     Declaratory Judgment seeking a judicial determination that it does not owe any coverage
17
     obligation to Northwest Pipe for the claims asserted in the Underlying Lawsuit.
18
            V.           NO INDEMNITY OR DEFENSE COVERAGE UNDER THE POLICIES
19
                 5.1           Travelers reasserts paragraphs 1.1 through 4.9 and incorporates the same as
20
     though fully stated herein.
21
                 5.2           The Policies provide coverage only for “property damage” caused by an
22
     “occurrence”, as those terms are defined by the Policies, provided that any such “property
23
     damage” occurs during the policy period and Northwest Pipe did not know, in whole or in part
24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 16                                                          1848 WESTLAKE AVENUE N, SUITE 100
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 1   about the alleged “property damage” prior to the inception of any applicable policy period.

 2               5.3           There is an actual and justiciable controversy as to whether the claims against

 3   Northwest Pipe involve claims for “property damage” as that term is defined.

 4               5.4           There is an actual and justiciable controversy as to whether of the claims against

 5   Northwest Pipe involve an “occurrence” as that term is defined by the Policies.

 6               5.5           There is an actual and justiciable controversy as to whether the alleged liability of

 7   Northwest Pipe is for “property damage” caused by any covered “occurrence.”

 8               5.6           There is an actual and justiciable controversy as to whether any “property

 9   damage” that was allegedly caused by a covered “occurrence” occurred during any policy period.

10               5.7           There is an actual and justiciable controversy as to whether Northwest Pipe had

11   knowledge, in whole or in part, of any alleged “property damage” prior to the inception of the

12   policy periods.

13               5.8           Pursuant to the Policies, coverage is excluded for “property damage” that is

14   expected or intended from the standpoint of the insured.

15               5.9           There is an actual and justiciable controversy as to whether Northwest Pipe

16   expected or intended any alleged “property damage”.

17               5.10          Pursuant to the Policies, coverage is excluded for property damage for which the

18   insured is obligated to pay damages by reason of the assumption of liability in a contract or

19   agreement.

20               5.11          There is an actual and justiciable controversy as to whether Northwest Pipe is

21   obligated to pay for any alleged “property damage” due to an assumption of liability in a contract

22   or agreement.

23               5.12          Pursuant to the Policies, coverage is precluded for “property damage” to

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
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 1   “impaired property” or other property that has not been physically injured arising out of a defect,

 2   deficiency, inadequacy or dangerous condition in the insured’s product or the insured’s work.

 3               5.13          There is an actual and justiciable controversy as to whether any alleged “property

 4   damage” to any allegedly “impaired property” or other property that has not been physically

 5   injured arises out of a defect, deficiency, inadequacy or other dangerous condition in Northwest

 6   Pipe’s work or product.

 7               5.14          Pursuant to the Policies, coverage is excluded for “property damage” to “impaired

 8   property” or other property that has not been physically injured arising out of a delay or failure

 9   by an insured or anyone acting on the insured’s behalf to perform a contract or agreement in

10   accordance with the terms of the contract or agreement.

11               5.15          There is an actual and justiciable controversy as to whether any alleged “property

12   damage” to any allegedly “impaired property” or other property that has not been physically

13   injured arises out of a delay caused by Northwest Pipe or a failure by Northwest Pipe to perform

14   a contract or agreement in accordance with the terms of the contract or agreement related to the

15   Project.

16               5.16          Pursuant to the Policies, coverage is excluded for liability for “property damage”

17   to the insured’s “your work”.

18               5.17          There is an actual and justiciable controversy as to whether the claims against

19   Northwest Pipe involve liability for “property damage” to Northwest Pipe’s work.

20               5.18          Pursuant to the Policies, coverage is excluded for liability for “property damage”

21   to the insured’s “your product”.

22               5.19          There is an actual and justiciable controversy as to whether the claims against

23   Northwest Pipe involve liability for “property damage” to Northwest Pipe’s product.

24
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 1               5.20          Pursuant to the Policies, coverage is excluded for liability arising from property

 2   that must be restored, repaired, or replaced because the insured’s work was incorrectly performed

 3   on it prior to the completion of the insured’s work.

 4               5.21          There is an actual and justiciable controversy as to whether the claims against

 5   Northwest Pipe involve liability arising from property that must be restored, repaired, or replaced

 6   because Northwest Pipe’s work was incorrectly performed on it prior to the completion of the

 7   insured’s work.

 8               5.22          Pursuant to the Policies, coverage is excluded for liability for “property damage”

 9   to that particular part of real property on which an insured or its contractors or subcontractors

10   worked directly or indirectly for the insured’s operations if the “property damage” arose out of

11   those operations.

12               5.23          There is an actual and justiciable controversy as to whether the claims against

13   Northwest Pipe involve liability for “property damage” to that particular part of real property on

14   which Northwest Pipe, or its contractors or subcontractors, worked directly or indirectly for its

15   operations and if said “property damage” arose out of those operations.

16               5.24          Pursuant to the Policies, coverage is excluded for liability arising from damages

17   claimed for any loss, cost or expense incurred by Northwest Pipe or others for the loss of use,

18   withdrawal, recall, inspection, repair, replacement, adjustment, removal or disposal of “your

19   product”, “your work”, or “impaired property” if such product, work, or property is withdrawn

20   or recalled from the market or from use by any person or organization because of a known or

21   suspected defect, deficiency, inadequacy or dangerous condition in it.

22               5.25          There is an actual and justiciable controversy as to whether the claims against

23   Northwest Pipe involve liability for damages claimed for any loss, cost or expense incurred for

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 19                                                          1848 WESTLAKE AVENUE N, SUITE 100
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 1   the loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or

 2   disposal of “your product”, “your work”, or “impaired property” that has been withdrawn or

 3   recalled from the market or from use by any person or organization because of a known or

 4   suspected defect, deficiency, inadequacy or dangerous condition in it.

 5               5.26          Pursuant to the Policies, to the extent that there is other valid and collectible

 6   insurance available to the Northwest Pipe for purposes of the claims asserted in the Underlying

 7   Lawsuit, the coverage provided under the applicable policy may be excess over such other

 8   insurance.

 9               5.27          To the extent that the Policies provide coverage, there is an actual and justiciable

10   controversy as to whether the coverage is excess over other insurance.

11               5.28          Pursuant to the non-cumulation provisions of the Policies, any payment by

12   Travelers under any policy for any “occurrence” will reduce the limit of each successive policy

13   issued by Travelers by the amount of any such payment for that “occurrence”.

14               5.29          To the extent that a progressive loss alleged, there is an actual and justiciable

15   controversy as to whether any potential coverage available under the Policies would limit

16   Travelers’ obligations to a single policy period.

17               5.30          Pursuant to the Policies, Northwest Pipe is required to comply with certain terms

18   and conditions as a condition precedent to coverage.

19               5.31          There is an actual and justiciable controversy as to whether Northwest Pipe

20   complied with the cooperation provisions in the Policies and whether any failure to comply on

21   the part of Northwest Pipe prejudiced Travelers.

22               5.32          Travelers reserves the right to assert any other exclusions or grounds for which

23   coverage for the claims against Northwest Pipe may be excluded under the Policies.

24
      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
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 1                            VI.           CAUSE OF ACTION FOR DECLARATORY RELIEF

 2               6.1           Travelers reasserts paragraphs 1.1 through 5.32 and incorporates the same as

 3   though fully set forth herein.

 4               6.2           Actual and justiciable controversies exist as to whether any defense coverage is

 5   available to Northwest Pipe under the Policies as set forth above.

 6               6.3           Pursuant to and in accordance with 28 U.S.C. § 2201, Travelers requests that the

 7   Court grant declaratory relief in favor of Phoenix and TPCC and enter a judicial determination

 8   that Phoenix and TPCC do not have an obligation to provide a defense to Northwest Pipe in

 9   regard to the claims related to the Underlying Lawsuit.

10               6.4           Actual and justiciable controversies exist as to whether any indemnity coverage

11   is available to Northwest Pipe under the Policies in regard to the claims related to the Underlying

12   Lawsuit.

13               6.5           Pursuant to and in accordance with 28 U.S.C. § 2201, Travelers requests that the

14   Court grant declaratory relief in favor of Phoenix and TPCC and enter a judicial determination

15   that Phoenix and TPCC do not have an obligation to provide any indemnity coverage to

16   Northwest Pipe in regard to the claims arising from the Underlying Lawsuit.

17               6.6           To the extent that there is defense coverage available to Northwest Pipe under the

18   Policies, there is an actual and justiciable controversy as to whether such coverage is primary or

19   excess.

20               6.7           To the extent that the Court determines that there is coverage available to

21   Northwest Pipe under the Policies, pursuant to 28 U.S.C. § 2201, Travelers requests that the

22   Court grant declaratory relief in favor of Phoenix and TPCC and enter a judicial determination

23   that such coverage is excess over any other coverage provided to Northwest Pipe under any other

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      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
25    FOR DECLARATORY RELIEF – 21                                                          1848 WESTLAKE AVENUE N, SUITE 100
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 1   policy of insurance.

 2                                                         VII.          PRAYER FOR RELIEF

 3               WHEREFORE, Travelers Property Casualty Company of America and The Phoenix

 4   Insurance Company, having specifically alleged the foregoing, now pray for the following relief:

 5               1.            For a declaration of the rights and obligations of the parties hereto under the

 6   Policies.

 7               2.            For a declaration that there is no duty to defend Northwest Pipe under the Policies.

 8               3.            For a declaration that there is no duty to indemnify Northwest Pipe under the

 9   Policies.

10               4.            For a judicial declaration that the District is bound by any judicial declarations in

11   this matter involving the Policies.

12               5.            To the extent allowed by applicable law, for reimbursement of any and all defense

13   costs, fees, or expenses incurred by Phoenix and/or TPCC in defending any entity or person in

14   the Underlying Lawsuit who claims to be an insured under any of the Policies for which there is

15   no defense obligation.

16               6.            For all pre-judgment and post-judgment interest as allowed by applicable law.

17               7.            For attorney fees and costs allowed by applicable statute and law.

18               8.            For other and further relief as the Court deems just and equitable.

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      TRAVELERS’ COMPLAINT                                                                     LETHER & ASSOCIATES PLLC
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 1

 2              DATED this 8th day of February, 2017.

 3                                                                                        LETHER & ASSOCIATES, PLLC

 4                                                                                        s/ Thomas Lether
                                                                                          s/ Eric Neal
 5                                                                                        Thomas Lether, WSBA #18089
                                                                                          Eric J. Neal, WSBA#31863
 6                                                                                        1848 Westlake Ave N., Suite 100
                                                                                          Seattle, WA 98109
 7                                                                                        P: 206-467-5444 / F: 206-467-5544
                                                                                          eneal@letherlaw.com
 8                                                                                        tlether@letherlaw.com
                                                                                          Counsel for Travelers Property Casualty
 9                                                                                        Company of America and The Phoenix
                                                                                          Insurance Company
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25   FOR DECLARATORY RELIEF – 23                                                                     1848 WESTLAKE AVENUE N, SUITE 100
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